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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JOSEPH WOLSKI and
CHRISTINA WOLSKI,

Plaintiffs,

CIVIL ACTION
NO. 18-12631-WGY

GARDNER POLICE DEPARTMENT,

ERIC MCAVENE, DANIAL WILDGRUBE,
MICHAEL TRAVERS, and

MATTHEW PRESCOTT,

Defendants.

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YOUNG, D.Jd. September 7, 2021
MEMORANDUM & ORDER

I. INTRODUCTION

In theory, qualified-immunity summary-judgment cases are “a
tug-of-war . . . between who gets the benefit of the doubt:
summary judgment requires absolute deference to the nonmovant’s
factual assertions, while qualified immunity demands deference
to the reasonable, if mistaken, actions of the movant.”
Justiniano v. Walker, 986 F.3d 11, 27 (lst Cir. 2021)

(quotations omitted); see Ortiz-Resto v. Rivera-Schatz, CIVIL

 

ACTION NO. 17-02362-WGY, 2021 WL 2555488, at *3-4 (D.P.R. June
22, 2021) (recognizing “the complexity of deciding qualified

immunity at the summary judgment stage”).

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In reality, this tug-of-war can result in a “super-summary
judgment” standard: “[e]ven when an official is not entitled to
summary judgment on the merits -- because the plaintiff has
stated a proper claim and genuine issues of fact exist --
summary judgment can still be granted when the law is not
reasonably clear.” Jamison v. McClendon, 476 F. Supp. 3d 386,
405 (S.D. Miss. 2020) (quotations omitted) (quoting Mark R.

Brown, The Fall and Rise of Qualified Immunity: From Hope to

 

Harris, 9 Nev. L.J. 185, 195 (2008)); see, e.g., Wilson v.

 

Layne, 526 U.S. 603, 614-18 (1999).

This case aptly illustrates the point. The undisputed
facts show that Massachusetts State Police trooper Matthew
Prescott (“Prescott”) violated the Fourth Amendment rights of
plaintiffs Joseph Wolski and Christina Wolski (collectively, the
“Wolskis”). “But owing to a legal deus ex machina -- the
‘clearly established’ prong of qualified-immunity analysis --

the violation eludes vindication.” See Zadeh v. Robinson, 928

 

F.3d 457, 478-79 (5th Cir. 2019) (Willett, J., concurring in
part and dissenting in part), cert. denied, 141 S. Ct. 110
(2020).

A. Undisputed Facts

On January 20, 2016, Prescott and two other Massachusetts
State Police troopers, Michael Travers (“Travers”) and Danial

Wildgrube (“Wildgrube”), traveled to the City of Gardner to

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begin a homicide investigation. Defs.’ Joint Statement
Undisputed Facts (“Defs.’ SOF”) @ 9, ECF No. 88. During the
investigation, Francis Arbolay (“Arbolay”) and his stepbrother
Thomas Racine (“Racine”) became persons of interest. Id. 7 10.
Joseph Wolski, then an officer with the Gardner Police
Department, offered to help locate Arbolay, explaining that he
had a rapport with Racine. Id. @ 11. Joseph Wolski soon
located Racine and interviewed him in the Gardner Police
Station. Id. 713. During this recorded interview, Racine
asked another police officer to leave the room so that Racine
could speak with Joseph Wolski alone. Id. G9 14-15. Racine
then asked to use Joseph Wolski’s cell phone, a request which
Joseph Wolski granted. Id. @ 15. Racine typed into the cell
phone and gave it back to Joseph Wolski to read. Id. Wf 15-16.
Joseph Wolski read the message and told Racine that he would
delete it. Id. 416. Joseph Wolski deleted the message and did
not tell anyone at the Gardner Police Department what had
happened. Id. 7117. Joseph Wolski “normally used his personal
cell phone to communicate with the informants he utilized as
part of his job with the Gardner Police Department.” Pls.’
Joint Statement Undisputed Facts (“Pls.’ SOF”) 9 13, ECF No.
102.

The District Attorney’s Office indicted Arbolay for

homicide. Defs.’ SOF 7 20. The Massachusetts Superior Court

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sitting in and for the county of Worcester later allowed
Arbolay’s motion to compel the preservation and production of
“all field, investigation, and/or other notes or communications
-- written, electronic, or otherwise -- generated by or between
law enforcement officials or any other agents of the
Commonwealth during response to and investigation of the
incident that gave rise to this case.” Defs.’ Joint Mot. Summ.
J. (“Defs.’ Mot.”), Ex. F, Mot. Preserve & Provide Police Notes
(“Superior Court Order”), ECF No. 87-6.

An Assistant District Attorney subsequently asked Wildgrube
“to ensure the extraction of the data from the cell phones of
all investigators ... .” Defs.’ SOF @ 22. Wildgrube, in
turn, assigned Prescott to conduct a data extraction of
approximately nine cell phones belonging to various officers of
the Massachusetts State Police Department and Gardner Police
Department. Id. WI 23-26. Lieutenant Eric McAvene (“McAvene”),
who was third in command at the Gardner Police Department, Pls.’
SOF 7 15, summoned Joseph Wolski and “inform[ed] [him] of the
[Superior] Court’s Order for his cell phone,” Defs.’ SOF FI 28-
29, to which he responded by “hand[ing] over [his] personal cell
phone to defendant McAvenue [sic],” Aff. Pl. Joseph Wolski @ 16,
ECF No. 104. Joseph Wolski explained, however, that the cell
phone he “currently had wasn’t even the same phone fhe] had used

during [his] involvement with the Arbolay matter and the Racine

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interview -- [his] wife and [he] had upgraded since that time,
and [he] didn’t even think it had the same phone number.” Id.
¢ 15. McAvene then gave Joseph Wolski’s cell phone to Travers,
“who left the room with it for about 45 minutes,” id. 7 17.
Travers gave Joseph Wolski’s cell phone to Prescott, who
conducted the data extraction. Defs.’ SOF @ 30.

To conduct the data extraction, Prescott used Cellebrite, a
software installed on his laptop. Defs.’ Mot., Ex. D, Aff. Def.
Matthew Prescott (“Prescott Aff.”) 91 8, ECF No. 87-4. Prescott
is a “trained specialist in computer and cell phone extractions”
who has conducted more than 500 cell phone extractions for the
Massachusetts State Police Department. Id. 7 4. He has
“completed numerous training opportunities and received
certifications in the area of processing computers and cell
phones,” and he also has “obtained a certification to extract
information from computers and cell phones using the Cellebrite
software.” Id. Cellebrite “does not provide an option to pick
which data [are] extracted during the process,” meaning that
data extractions through Cellebrite copy the entire “file
system, which includes all the data on the phone.” Defs.’ SOF
q 23. After conducting the data extraction, Prescott returned
Joseph Wolski’s cell phone to him, left the Gardner Police
Department, gave a copy of the data to Travers on a disc, did

not copy or share the data again, and deleted the data from his

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laptop hard drive at the conclusion of the Arbolay case.
Prescott Aff. @7@ 11-15.

The Wolskis kept consensually taken photographs of their
sexual activity (the “intimate data”) in a “locked photo album
vault” on Joseph Wolski’s personal cell phone. Pls.’ SOF Qf 31,
33; Remote Dep. Christina Wolski 59:17-19, ECF No. 87-7.
Prescott’s data extraction extended into this locked photo album
vault. Pls.’ SOF 4 39. McAvene later learned of and told other
Gardner Police Department officers about the intimate data, id.
qi 39-41, and word subsequently spread further in the Gardner
Police Department, id. 7 43.

B. Procedural History

In December 2018, the Wolskis filed the operative complaint
for invasion of privacy in violation of 42 U.S.C. § 1983 (count
I), conspiracy to interfere with civil rights in violation of 42
U.S.C. § 1985 (count II), negligent training and supervision in
violation of the Massachusetts Tort Claims Act (count III),
crimes against chastity, morality, decency, and good order in
violation of Massachusetts General Laws chapter 272, section
105(c) (count IV), and intentional infliction of emotional
distress (count V). First Am. Verified Compl. & Jury Demand
(“Am. Compl.”) 1, ECF No. 30.

When the Massachusetts State Police Department moved to

dismiss, Def. Massachusetts State Police Department’s Mot.

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Dismiss Pls.’ First Am. Verified Compl., ECF No. 31, this Court
allowed the motion, holding that the Eleventh Amendment shields
the Massachusetts State Police Department from suit, Wolski v.
Gardner Police Dep’t, 411 F. Supp. 3d 187, 194 (D. Mass. 2019).

The Gardner Police Department, McAvene, Travers, Wildgrube,
and Prescott moved for summary judgment. Defs.’ Mot.; Defs.’
SOF; Def. Michael Travers’ Mem. Law Supp. His Mot. Summ. J., ECF
No. 89; Mem. Supp. Def. Danial Wildgrube’s Mot. Summ. J., ECF
No. 90; Def. Matthew Prescott’s Mem. Law Supp. His Mot. Summ. J.
(“Prescott’s Mem.”), ECF No. 91; Mem. Supp. Defs. Gardner Police
Department & Lieutenant Eric McAvene’s Mot. Summ. J., ECF No.
92, The Wolskis opposed the motion. Pls.’ Opp’n Defs.’ Joint
Mot. Summ. J. (“Pls.’ Opp’n”), ECF No. 101.

This Court held oral argument on July 8, 2021. See Elec.
Clerk's Notes, ECF No. 111. When arguments concluded, this
Court made several rulings. First, this Court dismissed the
Gardner Police Department because it is not a suable entity, see

Henschel v. Worcester Police Dep’t, 445 F.2d 624, 624 (1st Cir.

 

1971), noting further that a motion for leave to amend the
complaint to name the City of Gardner would be futile as to
counts I and II and that this Court would decline to exercise
supplemental jurisdiction over counts III, IV, and V, see 28
U.S.C. § 1367(c) (3). Second, this Court construed this civil

action as an individual-capacity suit and not an official-

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capacity suit. See Powell v. Alexander, 391 F.3d 1, 22 (ist
Cir. 2004). Third, this Court allowed the motion for summary
judgment as to McAvene, Travers, and Wildgrube on counts I and
II and declined to exercise supplemental jurisdiction over
counts III, IV, and V. See 28 U.S.C. § 1367(c) (3). Finally,
this Court took the motion for summary judgment under advisement
as to count I against Prescott, allowed it as to count II, and
stated that it would not exercise supplemental jurisdiction over
counts III, IV, and V if summary judgment were to enter for
Prescott on count I. See id.
II. ANALYSIS

A. Summary Judgment Standard

Summary judgment is appropriate when “there is no genuine
dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). An issue
of material fact is genuine “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.”
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
Materiality depends on the substantive law, and only factual
disputes that might affect the outcome of the suit can preclude
summary judgment. Id. In reviewing the evidence, this Court
must “draw all reasonable inferences in favor of the nonmoving
party, and it may not make credibility determinations or weigh

the evidence.” Reeves v. Sanderson Plumbing Prods., Inc., 530

 

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U.S. 133, 150 (2000) (citations omitted). This Court must also
“disregard all evidence favorable to the moving party that the
jury is not required to believe.” Id. at 151. The moving party
bears the initial burden of demonstrating that “the nonmoving
party has failed to make a sufficient showing on an essential
element of her case with respect to which she has the burden of
proof.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If
the movant does so, then the nonmovant must set forth specific
facts sufficient to establish a genuine issue for trial.

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

 

 

586-87 (1986).

B. 42 U.S.C. § 1983 and Qualified Immunity

42 U.S.C. § 1983 “provides a cause of action for the
deprivation of constitutional rights by persons acting under
color of state law.” Torres v. Madrid, 141 S. Ct. 989, 994
(2021). “The doctrine of qualified immunity,” however,
“protects government officials from liability for civil damages
insofar as their conduct does not violate clearly established
statutory or constitutional rights of which a reasonable person

would have known.” Pearson v. Callahan, 555 U.S. 223, 231

 

(2009) (quotations omitted). “Qualified immunity protects an
officer from suit when a reasonable decision in the line of duty
ends up being a bad guess -- in other words, it shields from

liability all but the plainly incompetent or those who knowingly

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violate the law.” Justiniano, 986 F.3d at 26 (quotations
omitted). “Reasonable mistakes . . . can be made as to the
legal constraints on officers, and when that happens, the
officer is qualifiedly immune from damages.” Id. (brackets and
quotations omitted).

To defeat the invocation of qualified immunity, a plaintiff
must “show (1) that [the defendant] infracted [the plaintiff's]
federal rights and (2) that these rights were so clearly
established that a reasonable officer should have known how they
applied to the situation at hand.” Id. (quotations omitted).
The second element is broken “down even more explicitly as
follows: whether the right was clearly established at the time
of the alleged violation, and whether a reasonable officer,
similarly situated, would understand that the challenged conduct
violated that established right.” Id. (quotations omitted). A
defendant has not “violated a clearly established right unless
the right’s contours were sufficiently definite that any
reasonable official in the defendant’s shoes would have
understood that he was violating it, i.e., existing precedent
must have placed the statutory or constitutional question
confronted by the official beyond debate.” Id. (citations and
quotations omitted).

On a motion for summary judgment, courts “fram[e] the

factual events according to summary judgment’s traditional

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leeway to the nonmoving party’s version of events, and then
ask[{] whether, given that story, a reasonable officer should
have known that his actions were unlawful.” Id. (quotations
omitted); see Ford v. Bender, 768 F.3d 15, 23 (lst Cir. 2014)
(“A two-part framework governs whether a defendant is entitled
to qualified immunity. First, we inquire whether the facts,
taken most favorably to the party opposing summary judgment,
make out a constitutional violation. Second, we inquire whether
the violated right was clearly established at the time that the
offending conduct occurred.” (citation omitted) ).
1. Constitutional Violation

The Wolskis fail to identify with consistency the basis for
count I. This led the parties to argue past each other, with
Prescott arguing under the Fourteenth Amendment and the Wolskis
arguing under the Fourth Amendment.! This Court addresses each
in turn.

i. Fourteenth Amendment

“The Supreme Court has implied that the Constitution might
protect in some circumstances the individual interest in
avoiding disclosure of personal matters from government

infringement.” Nunes v. Mass. Dep’t of Correction, 766 F.3d

 

136, 143 (lst Cir. 2014) (quotations omitted); see Whalen v.

 

1 The amended complaint mentions the First Amendment, Am.
Compl. 7 34, but neither party advances any related argument.

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Roe, 429 U.S. 589, 598 n.23 (1977) (explaining that the “right
to privacy” recognized in Roe v. Wade, 410 U.S. 113 (1973), “is
founded in the Fourteenth Amendment’s concept of personal
liberty” (quotations omitted)).

Even were this Court to assume, favorably to the Wolskis,
that the intimate data are constitutionally protected, but_see
Davis v. Bucher, 853 F.2d 718, 719-21 (9th Cir. 1988) (holding
that invasion of privacy claim based on public official’s
disclosure of intimate photographs sounds in tort and not under

the Constitution); Carroll ex rel. Carroll v. Parks, 755 F.2d

 

1455, 1456-57 (11th Cir. 1985) (per curiam) (same), the flaw
fatal to this claim is that there is no evidence that Prescott
disclosed the intimate data. To the contrary, it is undisputed
that after conducting the data extraction, Prescott returned
Joseph Wolski’s cell phone to him, left the Gardner Police
Department, gave a copy of the data to Travers on a disc, did
not copy or share the data again, and deleted the data from his
laptop hard drive at the conclusion of the Arbolay case.
Prescott Aff. (If 11-15.

The closest the record comes to supporting the Wolskis’
narrative is that several Gardner Police Department officers
heard about and discussed the intimate data. Pls.’ SOF (f1 39-
41, 43. The Wolskis offer no legal support, however, for the

proposition that this conduct implicates the Constitution.

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Indeed, as the Wolskis seem to recognize, see Am. Compl. 7 35
(pleading, under count I, harm to personal and professional
reputation) the better fit is under state law, see Fletcher v.
Nebraska, 7:06cv5001, 2007 WL 9797656, at *3 (D. Neb. Feb. 28,
2007) (holding that 42 U.S.C. § 1983 claim based on public
official’s “spreading gossip” about the plaintiff “do[es] not
state a federal cause of action and amount[s], at most, to [a]
tort claim[] arising under state law”). To that end, in support
of count I, the Wolskis cite Massachusetts General Law chapter
214, section 1B, the Commonwealth’s right-of-privacy statute.
Am. Compl. 9 34 (citing Mass. Gen. Laws ch. 214, § 1B). But 42
U.S.C. § 1983 applies only to federal statutory and federal
Constitutional rights, not to state statutory or state
constitutional rights. See Maine v. Thiboutot, 448 U.S. 1, 4
(1980). This Court ALLOWS the motion for summary judgment as to
count I against Prescott to the extent that the Wolskis bring it
for violation of the Fourteenth Amendment.
ii. Fourth Amendment

The Fourth Amendment protects “[t]he right of the people to
be secure in their persons, houses, papers, and effects, against
unreasonable searches and seizures.” U.S. Const. amend. IV.
“The Amendment guarantees the privacy, dignity, and security of
persons against certain arbitrary and invasive acts by officers

of the Government, without regard to whether the government

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actor is investigating crime or performing another function,”
such as “act[ing] in its capacity as an employer.” City of
Ontario v. Quon, 560 U.S. 746, 755-56 (2010) (quotations
omitted).

“Although as a general matter, warrantless searches are per
se unreasonable under the Fourth Amendment, there are a few
specifically established and well-delineated exceptions to that
general rule.” Id. at 760 (quotations omitted). Under the
“special needs” exception to the warrant requirement, “when
conducted for a noninvestigatory, work-related purpose or for
the investigation of work-related misconduct, a government
employer's warrantless search is reasonable if” (1) “it is
justified at its inception” and (2) “the measures adopted are
reasonably related to the objectives of the search and not
excessively intrusive in light of the circumstances giving rise
to the search.” Id. at 760-61 (brackets, citations, and

quotations omitted) (quoting O’Connor v. Ortega, 480 U.S. 709,

 

725-26 (1987) (plurality opinion)). “A determination of the
standard of reasonableness applicable to a particular class of
searches requires balancing the nature and quality of the
intrusion on the individual’s Fourth Amendment interests against
the importance of the governmental interests alleged to justify
the intrusion.” O’Connor, 480 U.S. at 719 (brackets and

quotations omitted).

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The material facts are undisputed. Prescott does not
contend that the data extraction was not a search, that the
Wolskis did not have a reasonable expectation of privacy, or
that he had a warrant. The Wolskis, for their part, fail to
dispute that the Superior Court Order was the “noninvestigatory,
work-related purpose” justifying the data extraction at its
inception. See Quon, 560 U.S. at 761 (brackets omitted).

Here, the data extraction was unconstitutional because it
was unreasonable in scope. See O’Connor, 480 U.S. at 726
(holding that “both the inception and the scope of the intrusion
must be reasonable”). First, the Superior Court Order was
limited to “notes or communications . .. generated... during
response to and investigation of the incident that gave rise to
this case,” id. (emphasis added), yet Prescott conducted the
data extraction on a cell phone that “wasn’t even the same phone
[Joseph Wolski] had used during [his] involvement with the
Arbolay matter and the Racine interview -- [his] wife and [he]
had upgraded since that time, and [he] didn’t even think it had
the same phone number.” Aff. Pl. Joseph Wolski @ 15. Second,
the data extraction went beyond the “notes or communications”
contemplated by the Superior Court Order, reaching the intimate
data in Joseph Wolski’s locked photo album vault. Pls.’ SOF
@ 31. Prescott’s “indiscriminate” extraction of “all the data

stored on [Joseph Wolski’s] personal cell phone” therefore was

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excessively intrusive. See Larios v. Lunardi, 445 F. Supp. 3d

 

778, 784 (E.D. Cal. 2020), aff’d, No. 20-15764, 2021 WL 1997941
(9th Cir. May 19, 2021).

In Larios v. Lunardi, the United States District Court for
the Eastern District of California, characterizing the question
of excessive intrusion as “a question of fit,” stated that
although “[a] customized data withdrawal would have fallen
squarely within the workplace inspection exception.

Downloading all the cell phone’s data to retrieve a single
thread of texts is like watering a plant with a firehose. The
means far exceeds the need.” Id. Larios explained that the
Supreme Court's decision in Riley v. California, “though
addressing distinct legal issues, provides a description of cell

phones’ storage capacity that helps illuminate the intrusiveness

of the seizure in this case... .” Id. (citing 573 U.S. 373
(2014)). “[T]he possible intrusion on privacy is not physically
limited in the same way when it comes to cell phones. .. . The

sum of an individual’s private life can be reconstructed through
a thousand photographs labeled with dates, locations, and
descriptions... .” Riley, 573 U.S. at 394.

This is not to say that “only the least intrusive search
practicable can be reasonable under the Fourth Amendment.” See
Quon, 560 U.S. at 763. Rather, this Court rules that where the

personal cell phone searched was not the one used during the

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Arbolay matter, and where the search reached into Joseph
Wolski’s locked photo album vault, the all-encompassing scope of
the data extraction was disproportionate to the potential for
finding “notes or communications” contemplated by the Superior
Court Order, and therefore was unreasonable. See Quon, 560 U.S.
at 761; O’Connor, 480 U.S. at 719; Lunardi, 445 F. Supp. 3d at
784.
2. Clearly Established

Having demonstrated that Prescott violated their Fourth
Amendment rights, the Wolskis still must show that these rights
were “clearly established at the time of the alleged violation”
and that “a reasonable officer, similarly situated, would
understand that the challenged conduct violated th[ese]
established right[s].” See Justiniano, 986 F.3d at 26
(quotations omitted); see also Pearson, 555 U.S. at 243-44 (“An
officer conducting a search is entitled to qualified immunity
where clearly established law does not show that the search
violated the Fourth Amendment. This inguiry turns on the
objective legal reasonableness of the action, assessed in light
of the legal rules that were clearly established at the time it
was taken.” (citation and quotations omitted)).

The Wolskis fail to make this showing. Their cited
authorities concern excessive force, arrests, and cruel and

unusual punishment. See Pls.’ Opp’n 13-14. From that inapt

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starting point, the Wolskis invite this Court to “take judicial
notice that the Fourth Amendment in all circumstances is most
clearly established law, as is the Wolski plaintiffs’ Right of
Privacy,” and to rule that Prescott’s conduct was so obviously
unconstitutional that the Wolskis need not offer precedential
support. See id. 14 (citing Hope v. Pelzer, 536 U.S. 730
(2002)). This Court declines both invitations, as it cannot
delineate what is and is not clearly established at such “a high
level of generality, since doing so avoids the crucial question
whether the official acted reasonably in the particular
circumstances that he or she faced.” See District of Columbia
v. Wesby, 138 S. Ct. 577, 590 (2018) (quotations omitted).
Particularly in the Fourth Amendment context, the right
allegedly violated must be defined with “a high degree of
specificity.” Id. (quotations omitted). Simply pointing out
that the Fourth Amendment exists and that courts sometimes
permit “rare obvious case[s]” to go forward will not suffice.
See id. (quotations omitted); Wilson, 526 U.S. at 615 (“It could
plausibly be asserted that any violation of the Fourth Amendment
is ‘clearly established,’ since it is clearly established that
the protections of the Fourth Amendment apply to the actions of
police. . . . However, as we explained in Anderson [v.

Creighton, 483 U.S. 635 (1987)], the right allegedly violated

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must be defined at the appropriate level of specificity before a
court can determine if it was clearly established.”).

If more were needed (it is not), recent caselaw indicates
that the right allegedly violated here is not clearly
established. Just a few months ago the Ninth Circuit held that
this precise issue -- “whether it is unconstitutional to search
or seize data from a personal cell phone under the workplace
inspection exception to the warrant requirement for public
employers established in O’Connor v. Ortega and City of Ontario

v. Quon” -- is “not clearly established.” Larios v. Lunardi,

 

No. 20-15764, 2021 WL 1997941, at *1 (9th Cir. May 19, 2021)
(nonprecedential). This Court rules that Prescott is
qualifiedly immune and entitled to judgment as matter of law.
III. CONCLUSION

For the foregoing reasons, this Court ALLOWS the motion for
summary judgment, ECF No. 87, as to count I against Prescott.

Judgment shall enter for the defendants.

SO ORDERED. Mdm A fone
/s/ William Ing

JUDGE! v
of the
UNITED STATES2

 

2 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’ma Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 43 years.

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